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                 EXHIBIT D
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               - Case
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                AV:JSS:jss
                F. #1998R02283
                LAURCOOP.AGR

                UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF NEW YORK

                                                         X

                UNITED STATES OF AMERICA                               COOPERATION AGREEMENT

                      - against -                                      98 C 1102 (ILG)

                SALVATORE LAURIA,



                                                        X

                            Pursuant to Rule 11 of the Federal Rules of Criminal

               Procedure, the United States Attorney's Office for the Eastern

                District of New York (the "Office") and SAL LAURIA (the

               "defendant") agree to the following:
-v,\Go
  - )                       1.     The ci,,, fnd-,nt will waive indictment and plead
       6‘('° guilty to an information to be filed in this district charging
-/
 \cl      3S
                  olation of 18 U.S.C. § 1962(c). The count carries the

               following statutory penalties:
                                                                                           I
                                                   fActeKth a cAA.-4       Cov\splireCL.
                                 - a.       Maximum term of imprisonment: 20 years
                                            (18 U.S.C. § 1963a)).

                                   b.       Minimum term of imprisonment: 0 years
                                            (18 U.S.C. § 1963(a)).

                                   c.       Maximum supervised release term: 3 years, to
                                            follow any term of imprisonment; if a
                OYA                         condition of release is violated, the
                                            defendant may be sentenced to up to 2 years
                                            without credit for pre-release imprisonment
                                            or time previously served on post-release
                                            supervision
                                            (18 U.S.C. §§ 3583 (b), (e)).
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                                                                             2

                  d.     Maximum fine: 2 times the gross gain or
                         gross loss, or $250,000, whichever is
                         greater
                         (18 U.S.C. § 3571(b) and (d)).
                  e.     Restitution: $60 million approx.
                         (18 U.S.C. § 3663).

                  f.     $100 special assessment
                         (18 U.S.C. § 3013).

                  g•     Other penalties: possible deportation.

             2.   The defendant's sentence is governed by the United

States Sentencing Guidelines. The Office will advise the Court

and the Probation Department of information relevant to

sentencing, including all criminal activity engaged in by the

defendant, and such information will be used to calculate the

Sentencing Guidelines range. Based on information known to it

now, the Office will not oppose a downward adjustment of three

levels for acceptance of responsibility under U.S.S.G. § 3E1.1.

             3.   •The defendant will provide truthful, complete and

accurate information and will cooperate fully with the Office.

This cooperation will include, but is not limited to, the

following:

                  a.     The defendant agrees to be fully debriefed
                         and to attend all meetings at which his
                         presence is requested, concerning his
                         participation in and knowledge of all
                         criminal activities. '

                  b.     The defendant agrees to furnish to the Office
                         all documents and other material that maybe
                         relevant to the investigation and that are in
                         the cl.-a--fhdant's possession or control and to
                         participate in undercover activities .ursuant
                         to the specific instructions of law
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                               enforcement agents or this Office.

                          r.   The defendant agrees not to reveal his
                               cooperation, or any information derived
                               therefrom, to any third party without prior
                               consent of the Office.

                               The d-,--fendant a rees to testify at any
                               proceeding in the Eastern District of New
                               York or elsewhere as requested by the Office.

                          e.   The defendant consents to adjournments of his
                               sentence as requested by the Office.

                          f.   The defendant agrees to provide the Office
                               with a financial statement making truthful
                               and complete disclosure under oath concerning
                               his financial worth, including all of his
                               assets and income in his own name and in the
                               name of other persons and entities.

                               The defendant agrees to enter into the
                               Consent Order annexed hereto. As set forth
                               in the Consent Order, the terms of which are
                               incorporated by reference herein., the
                               defendant agrees to deposit $20,000, and the
                               proceeds from the sale of certain real
                               property, into an interest bearing account
                               maintained by the Clerk, U.S. District Court,
                               Eastern Distict of New York. All of the
                               defendafIt's assets, including the funds
                               deposited into the .aforementioned account,
                               may be applied to pay any fine and
                               restitution to victims of the defendant's
                               criminal activities, as ordered by the Court.

           4. The Office agrees that:

                      a.       Except as provided in paragraphs 1, 8, and 9,
                               no criminal char es will be brou ht against
                               the defendant for his heretofore disclosed
                               p.articipation in criminal activity involving
             1/4.)             CraudurFEE—Fe7777ET47777=Tions, and the
                               un1awiu1 laundering and structurin of
            C)4                6roceeds tnerezrom, from approximately March
                     t\
            ,Sc).
                               1777-
                               ,    777577— ctober— 13, 1998; false tax
                                                     _........_
                               reporting and filings for the years 1990
                               through
                               ,       1997 as a result of the
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                               aforementioned criminal activity;     threats
                               of violence in connection with securities
                               transac ions rom a..roximatel October 1993
                               through September 1996.

                      b.       No statements made by the defendant ll.ring
                               the course of this cooperation will be used
                               against him except as provided in paragraphs
                               2, 8, and 9.
      4-io‘
                 3.   The defendant agrees that the Office may meet with

NIP   and debrief him without the presence of counsel, unless the

      defendant specifically requests counsel's presence at such

      debriefings and meetings. Upon request of the defendant, the

      Office will endeavor to provide advance notice to counsel of the

      place and time of meetings and debriefings, it being understood

      that the Office's ability to provide such notice will vary

      according to time constraints and other circumstances. The

      Office may accommodate requests to alter the time and place of

      such debriefings. It is understood, however, that any

      cancellations or reschedulings of debriefings or meetings

      requested by the defendant that hinder the Office's ability to

      prepare adequately for trials, hearings or other proceedings may

      adversely affect the defendant's ability to provide substantial

      assistance. Matters occurring at any meeting or debriefing may

      be considered by the Office in determining whether the defendant .

      has provided substantial assistance or otherwise complied with

      this agreement and may be considered b . the Court in imposing

      sentence regardless of whether counsel was present at the meeting
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    or debriefing.

              6.     If the Office determines that the defendant has

    cooperated fully, provided substantial assistance to law

    enforcement authorities and otherwise complied, with the terms of

    this agreement, the Office will file a motion pursuant to

    U.S.S.G. § 5K1.1 with the sentencing Court setting forth the

    nature and extent of his cooperation. Such a motion will permit

    the Court, in its discretion, to impose a sentence below the

    applicable Sentencing Guidelines range. In this connection, it

    is understood that a good faith determination by the Office as to

    whether the defendant has cooperated fully and provided

    substantial assistance and has otherwise complied with the terms

    of this agreement, and the Office's good faith assessment of the

    value, truthfulness, completeness and accuracy of the

.   cooperation, shall be binding upon him. The defendant agrees

    that, in making this determination, the Office may consider facts

    known to it at this time. The Office will not recommend to the

    Court a specific sentence to be imposed. Further, the Office

    cannot and does not make a promise or representation as to what

    sentence will be imposed by the Court.

              7.     The defendant agrees that with respect to all

    charges referred to in paragraphs 1 and 4(a) he is not a

    "prevailing party" within the meaning of the "Hyde Amendment,"

    Section 617, P.L. 105-119 (Nov. 26, 1997), and will not file any
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              claim under that law. The defendant waives any right to

              additional disclosure from the government in connection with the

              guilty plea.

                        8.    The defendant must at all times give complete,

              truthful, and accurate information and testimony, and must not

              commit, or attempt to commit, any further crimes. Should it be

              judged by the Office that the defendant has failed to cooperate

              fully, has intentionally given false, misleading or incomplete

              information or testimony, has committed or attempted to commit

              any further crimes, or has otherwise violated any provision of

              this agreement, the defendant will not be released from his plea

              of guilty or from the Consent Order but this Office will be

              released from its obligations under this agreement, including (a)

              not to oppose a.downward adjustment of three levels for

              acceptance of responsibility described in paragraph 2 above, and

              (b) to file the motion described in paragraph 6 above. The

              defendant will also be subject to prosecution for any f.ederal

              criminal violation of which the Office has knowledge, including,

              but not limited to, the criminal activity described in paragraph

              4 above, perjury and obstruction of justice.

                        9.    Any prosecution resulting from the defendant's

              failure to comply with the terms of this agreement may be

              premised upon: (a) any statements made by the defendant to the

              Office or to other law enforcement agents on or after October 13,
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         1998; (b) any testimony given by him before any grand jury or

         other tribunal, whether before or after the date this agreement

         is signed by the defendant; and (c) any leads derived from such

         statements or testimony. Prosecutions that are not time-barred

         by the applicable statutes of limitation on the date this

         agreement is signed may be commenced against the defendant in

         accordance with this paragraph, notwithstanding the expiration of

         the statutes of limitation between the signing of this agreement

         and :he commencement of any such prosecutions. Furthermore, the

         defendant waives all claims under the United States Constitution,

         Rule 11(e)(6) of the Federal Rules of Criminal Procedure, Rule

.•••:1   410 of the Federal Rules of Evidence, or any other federal

         statute or rule, that statements made by him on or after October

         1 3, 1998, or any leads derived therefrom, should be suppressed.


                    10. If the defendant requests, and in the Office's

         judgment the request is reasonable, the Office will make

         application and recommend that the defendant and, if appropriate,

         other individuals be placed in the Witness Security Program, it

         being understood that the Office has authority only to recommend

         and that the final decision to place an applicant in the Witness

         Security Program rests with the Department of Justice, which will

         make its decision in accordance with applicable Departmental

         regulations.

                    11. If the defendant requests, and in the Office's
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 judgment the request is reasonable, the Office will recommend to
the Department of Justice that the defendant not be deported, it
being understood that the Office has authority only to recommend
and that the final decision whether to grant such relief rests

with the Department of Justice, which will make its decision in

accordance with applicable law.
           12. This agreement does not bind any federal, state,
or local prosecuting authority other than the Office, and does
not prohibit the Office from initiating or prosecuting any civil
or administrative proceedings directly or indirectly involving

the defendant.
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           13. No promises, agreements or conditions have been

entered into other than those set forth in this agreement, and

none will be entered into unless memorialized in writing and

signed by all parties. This agreement supersedes any prior

promises, agreements or conditions between the parties. To

become effective, this agreement must be signed by all

signatories listed below.

Dated: Brooklyn, New York
        December 1C 1993

                                        ZACHARY W. CARTER
                                        United States Attorney
                                        Eastern District of New York

Agreed and consented to:
                                  By:
                                        ,72. than S. Sack
                                        Assistant United States Attorney




Approved by:                     Appr

                                                •
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Coünel to Defendant              —ndrew Weissmann
                                   pervising Ass        ant U.S. Attorney
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                 AV:JSS:jss
                 F. #1998R02283
                 LAURREST.ORD

                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF NEW YORK _
                                                      X

                 UNITED STATES OF AMERICA                      CONSENT ORDER

                      -. against -                             98 CR 1102 (ILG)
                                                                SSd P,C.0
                 SALVATORE LAURIA,

                                   Defendant.

                                                      X

                              WHEREAS, on December    , 1998 the defendant SALVATORE

               LAURIA (the "defendant") entered into an agreement pursuant to

                 which he has entered a guilty plea to a Felony Information which
 .;            charged him with violating 18 U.S.C. § 1962(c); and
-A°
   v       •      0           WHEREAS the defendant consents to enter into this
-
               Consent Order as set forth herein pursuant to which certain

               assets, and proceeds derived therefrom, will be used to pay any

               fine and restitution to victims of the criminal activities set

               forth in the aforementioned Felony Information;

                              IT IS HEREBY STIPULATED AND AGREED by and between

           '>Zachary W. Carter, United States Attorney for the Eastern
          r),\
               District of New York, by Assistant U.S. Attorney Jonathan S. Sack

    C)*        (the "Office"), and the defendant, as follows:

                              1.   The defendant agrees to provide the Office with a

               financial statement making truthful and complete disclosure under

               oath concerning his financial worth, including all of his assets

                                                                                     GOVERNMENT

                                                                                    LIV-vgAk
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 and income in his own name and in the name of other persons and

 entities.

             2.    The defendant agrees to deposit funds in the

 amount of $20,000 into an interest bearing account maintained by

 the Clerk, U.S. District Court, Eastern District of New York (the

 "Restitution Account") no later than 120 days after the date of

 this agreement.

             3.   The defendant agrees to sell the following parcel

 of real property, subject to the Office's approval, and deposit

 the proceeds from this sale to the Restitution Account no later

 than 180 days after the date of this agreement: 2 Blueberry

 Court, Quogue, New York, held in the name of Hope Lauria.

             4.   The defendant agrees that, upon request of the

 Office, he will provide truthful and complete information and

 assistance with respect to the identification and recovery of

 assets, including but not limited to (a) a vacant lot adjoining 2

 Blueberry Court, Quogue, New York, held in the name of an off-

 shore company, Mountainlake Corporation, maintained by

 Tntertrust, Geneva, Switzerland, and (b) a bank account in the

 name of an off-shore entity, Nelkie Family Trust, maintained by

 Intertrust,. Geneva, Switzerland.

             5.   The defendant need not relocate from his current

 residence on Forest Drive, Sands Point, New York. However, if

 the defendant sells this residence, he may use the proceeds to
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                                                                                    3
• ..•

         buy or lease another residence, with any and all remaining

         proceeds to be transferred to the aforementioned Restitution

         Account.

                    6.   The defendant waives any right to use this Consent

         Order in this or any related criminal action to assert any

         statutory or constitutional defenses, including but not limited

         to the defenses of double jeopardy of the Fifth Amendment and the

         excessive fines clause of the Eighth Amendment.

                    7.   The defendant acknowledges that pursuant to 18

         U.S.C. §§ 3571, 3663 and 3663A, the Court may order the payment

         of a fine or restitution in amounts exceeding any funds deposited

         in the Restitution Account, and by taking into account all of the

         defendant's assets and income without limitation to the specific

         items set forth above.

                    8.   The r 1 =-k of the Court, U.S. District Court,

         Eastern District of New York, shall establish the aforementioned

         Restitution Account.
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                                                                            4

            9.   This Consent Order will be final and binding only

 upon this Consent Order being "So Ordered" by the Court.

 Dated:     Brooklyn, New York
            December     1998


                                        ZACHARY W. CARTER .
                                        United States Attorney
                                        Eastern District of New York

 Agreed and consented to:
                                  By:
                                         2.- athan S. Sack
                                        Assistant U.S. Attorney




Approved by:                      Approved by:



Counsel o Defendant               Supervising Asst. . . Attorney


SO ORDERED this      day
of December, 1998



THE HONORALE-.1. LEO GLASSL,
UNITED STATES DISTRICT JUDGE
              Caseadu         tik.Ack Sct
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                  SOO 15 61 mi‘ -cad
                                                                -1
                                                FEDERAL BUREAU OF INVESTIGATION


                                                                                 Date of transcription   10/25/98

                                                 Q-VE
          cf;              SOURCE started using pot at age 10. He smoked pot
               ‘' every day until his senior year in high school. During his
(Jo'        0, college years, SOURCE used alcohol, pot and cocaine on a regular'
                 basis. SOURCE used cocaine almost every weekend during his
6'               college years.- SOURCE bought and sold cocaine to support his
             _//drug habit. At age 23, P ouRCI7E-nNTIa he was addict to
             v cocairff—after he was pulled over and arrested for "operating a
                 motor vehicle under the influence of a controlled substance."
              /SOURCE obtained treatment and has been clean and sober since age
             \/ 23.
                              Presently, SOURCE drinks socially. SOURCE has not used
                  . cocaine except for one time since he obtained treatment at age
                    23. SOURCE occasionally uses Valium because of the stress he
                    experiences. This Valium use occurred in 1996.
                              SOURCE advised that BOBBY TARANTOLA was °with" TEDDY
                    PERSICO. TARANTOLA tricid-fo—raie Money with a "pnivaE-e
                    placement" for his wife's beauty salon, PASQUALE'S DAY SALON.

                              RICK GALLO negotiated with the brokerage MONTROSE to
                    obtain an equity share in exchange for GALLO's raising one and a
                    half million dollars for the firm. - RICK GALLO is married to
                    TARANTOLA's sister.

                              App±.oximate4 two months ago, SALVATORE LAURIA attended
                   a meeting with DANIEL'iPERSICO, RICK GALLO, and BOBBY TARANTOLA.
                   During this meeting, GALLO told LAURIA that PERSICO, GALLO and ,6
                   TARANTOLA had a "90-10" branch office of WEST AMERICA and that in
                   that branch office they empI6'yed licensed and unlicensed brokers --r)
                   to sell uhousen stock. BOBBY TARANTOLA provided the financial
                   backing for RICK GALLO. GALLOAERSICO, and TARANTOLA offe;ed
                   LAURIA enrol° ent at the fir as          itant. LAURIA told GALLO
                  4,that he wanted $4,000.00 a month to help them find a suitable
                   broker/dealer to merge with.
            P)-
      /)—



  =.7,5     Investitzarion on_ _   10/19/9-8,   at   New York,- New York

            FUel 270A-?\TY-2693-5                                          Date dictated     10/2V98

          - by     Leo Taddeo
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                                                     7




            Shortly after DOUKAS .pUrchased the firm, LAURIA was
  injured in an automobile accident. For approximately one month,
  LAURIA did not work. After recovering from the accident, LAURIA
  began to work at the firm of FIRST METROPOLITAN.

             FIRST METROPOLITAN was owned by SAL MORREALE, LOU
  SORRENTINO and JOSEPH ALIOATA. SAL MORREALE is LAURIA's cousin.
  While these individuals owned the firm on paper, KLOTSMAN
  actually ,rai.sed $2.4 million to finance the firm. In return,
  LAURIA,* SATER, and KLOTZMAN received 40 percent of the profits
  made fromsLig inside shares of stocks "Imxilici" by KLOTSMAN,
  LAURIA, and SATER. LAURIA was on the FIRST METROPOLITAN premises
  daily and wa a le to bring his own brokers into the firm. These
  brokers knew that they would receiy.:-_- cash payments at FIRST
  METROPOLITPN, ALEKS PAUL laundered .some'of the cash used to Pay
  brokers at FIRST METROPOLITAN.

            The following stocks ere issued at FIRST METROPOLITN
  and sold by paying cash to the brokers:

            . TRANFORD_INTERNATIONAL-.GROUP.:_CHARLIE XUE_ brought this
  deal to FIRST,METROPOLITANThe_c mpany.ws.involved:in
  manufacturing bath tubs.' LAUR     - SATEand KLOTSMAN held inside
  warrants but never got the. opporuunt4y'to ffETT-En7r77-7 -a--
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        result, they never made any money on this deal.

                   The next deal done at. FIRST METROPOLITAN was called
        T.T.R. INC. This company was ID:asd ii Israel and was in the
        business o_f-producing CD piracy protection software. LAURIA,
        KIJOTSMAN,SATEk,and the owners of FIRST METROPOLITAN had an
        inside poi-tion' of 600,000 shares. Again, LAURIA, KLOTSMAN and
        SATER did not make any money, on the deal. The inside position
        was obtained by paying a $30,0QP.00 bribe to a lawyer for an
        improper.opinion letter. This payment was made by GENE KLOTSMAN.

                    LAURIA, SATER, and KLOTSMAN also had an undisclosed
9
.\     interest in the brokerage firm of LEXINGTON CAPITAL GROUArsiam We
       individuals who applodi to own the firm on paper.were =ENT e 6L)
       MARATATO (ph), DILAWbRTANE (ph) and a third individual. These eS\
       three individuals approached LAURIA through DANNY PERSICO and     R
       amased LAURIA that t e wanted to start t elm- own firm. These
              indivi uals asked LAURIA to help them start the firm so
       LAURIA helped set up the firm's infrastructure while KLOTSMAN
       raise approximately $1.5 million. In return, KLOTSMAN, LAURIA,
       and (SATE would received 40 percent Of the profits from sales of
       stoc --ect- LEXINGTON CAPITAL. This 40 percent was limited to the
       profits of stock wherein the partners had an inside position. No
       deals were ever completed through LEXINGTON CAPITAL because this
       Lirm merge witn FIRST HANOVER an. FIRST METPOLiTAN.
                        LAURIA, and JOTSMAN had an interest in FIRST
       HANOVER but OTSMAN stole a lead from the individuals who own
       the firm so they pulled out of the deal and sold back shares of
       HOLLY PRODUCTS to the detriment of LAURIA, SATER, and KLOTSMAN.

                 GARY FERONE was a broker at FIRST HANOVER who received
       cash for selling shares of COUNTRY WORLD CASINOS. FERONE worked
       at a mutual fund. with HARVEY BLOCK so he could not take the
       COUNTRY WORLD stock directly. Instead, FERONE used SAL MARTARONO
       at FIRST :OVER to do the trades for him. MARTARONO, in turn,
       took cash from LAURIA for selling shares of HOLLY PRODUCTS.
       SOURCE advised that LAURIA remained at FIRST METROPOLITAN until
       approximately January, 1997. During this time, LAURIA recruited
       brokers and helped with solving some of the "shorting" problems."
       mauRTA also looked for deals to push through FIRST METROPOLITAN.

                 In or around January 1997_,AURIA began to work for
       RAFAEL ROJAS. At the same time, 'ATE and KLOTSMAN were at 40
       Wall Street setting up U.K. HYDE        LAURIA was a full partner
       in_U.K. HYDE PARK with 33 percent interest. LAURIA purchased.'
       this interest for $300,000.00. LAURIA and his partners intended
       to use U.K. HYDE PARK to conduct Reg D Deals-but-this. firm never
       turned a profit.
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             LAURIA met RAFAEL ROJAS through one of his clients.
         and LAURIA asked ROJAS if he was interested in buying oil
  prep-erties with reserves in Russia. Each of the three_patners
  would put in $100,000.00 each to start the venture. SATE' and
  LAURIA each put in $1.00,000.00 in an escrow account an   raveled
  to Russia. ROJAS never put in his $100,000.00.

            LAURIA's business relationship with ROJAS involved
  examining potential business deals and proposing them to ROJAS.
  LAURIA believed that ROJAS was a large scale businessman. LAURIA
  did not receive a salary from ROJAS but ROJAS agreed to allow
  LAURIA to share in the profits of future deals that he invested
  in. In the end, LAURIA could not close any deals with ROJAS.

            LAURIA, however, entered into an arrangement with ROJAS
  whereby LAURIA would, in effect, launder $14 million for Italian
  Lire in Switzerland.

           ROJAS supplied oil and other petroleum products to Cuba
 through nominee accounts in the Caribbean. IMAN I3OISE (Ph), an
 individual who works in ROJAS' office, may he involved in arms
 dealing. ROJAS may he a front in the United States for fugitive
 MARK RITCH.

           In January and February of 1997, LAURIA was in Russia.
 Upon his return, LAURIA went back to work for ROJAS at his New
 York Office. Shortly afterwards, in or around March of 1997,
 RICK GALLO approached LAURIA to open a broker/dealer under the
 WEST AMERICA brokerage firm outlined above.

           While working with GALLO, LAURIA was approached by
 DAVID JACKARUSSO (ph), one of LAURIA's neighbors on Sands Point,
 Long Island. JACKARUSSO asked LAURIA to act as a consultant fo-r-
 his brokerage firm, MONTROSE. JACKARUSSO was having difficulty
 managing the firm and asked LAURIA to help him in some type of
 consulting arrangement. In addition to solving some of the
 manacemen.t problems at MONTROSE, LAURIA tried to introduce RICK
 GALLO to a merger with MONTROSE. LAURIA approached attorney
 SCOTT ZEIGLER to prepare the merger papers. In the end, GALLO
 could not raise enouah money to complete the merger and as a
 result, the mercer never took lace. JACKARUSSO eventually told
 GALLO to stay away from the firm because MONTROSE found another


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                                                FEDERAL BUREAU OF INVESTIGATION


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                                                 Q-VE
          cf;              SOURCE started using pot at age 10. He smoked pot
               ‘' every day until his senior year in high school. During his
(Jo'        0, college years, SOURCE used alcohol, pot and cocaine on a regular'
                 basis. SOURCE used cocaine almost every weekend during his
6'               college years.- SOURCE bought and sold cocaine to support his
             _//drug habit. At age 23, P ouRCI7E-nNTIa he was addict to
             v cocairff—after he was pulled over and arrested for "operating a
                 motor vehicle under the influence of a controlled substance."
              /SOURCE obtained treatment and has been clean and sober since age
             \/ 23.
                              Presently, SOURCE drinks socially. SOURCE has not used
                  . cocaine except for one time since he obtained treatment at age
                    23. SOURCE occasionally uses Valium because of the stress he
                    experiences. This Valium use occurred in 1996.
                              SOURCE advised that BOBBY TARANTOLA was °with" TEDDY
                    PERSICO. TARANTOLA tricid-fo—raie Money with a "pnivaE-e
                    placement" for his wife's beauty salon, PASQUALE'S DAY SALON.

                              RICK GALLO negotiated with the brokerage MONTROSE to
                    obtain an equity share in exchange for GALLO's raising one and a
                    half million dollars for the firm. - RICK GALLO is married to
                    TARANTOLA's sister.

                              App±.oximate4 two months ago, SALVATORE LAURIA attended
                   a meeting with DANIEL'iPERSICO, RICK GALLO, and BOBBY TARANTOLA.
                   During this meeting, GALLO told LAURIA that PERSICO, GALLO and ,6
                   TARANTOLA had a "90-10" branch office of WEST AMERICA and that in
                   that branch office they empI6'yed licensed and unlicensed brokers --r)
                   to sell uhousen stock. BOBBY TARANTOLA provided the financial
                   backing for RICK GALLO. GALLOAERSICO, and TARANTOLA offe;ed
                   LAURIA enrol° ent at the fir as          itant. LAURIA told GALLO
                  4,that he wanted $4,000.00 a month to help them find a suitable
                   broker/dealer to merge with.
            P)-
      /)—



  =.7,5     Investitzarion on_ _   10/19/9-8,   at   New York,- New York

            FUel 270A-?\TY-2693-5                                          Date dictated     10/2V98

          - by     Leo Taddeo
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            Shortly after DOUKAS .pUrchased the firm, LAURIA was
  injured in an automobile accident. For approximately one month,
  LAURIA did not work. After recovering from the accident, LAURIA
  began to work at the firm of FIRST METROPOLITAN.

             FIRST METROPOLITAN was owned by SAL MORREALE, LOU
  SORRENTINO and JOSEPH ALIOATA. SAL MORREALE is LAURIA's cousin.
  While these individuals owned the firm on paper, KLOTSMAN
  actually ,rai.sed $2.4 million to finance the firm. In return,
  LAURIA,* SATER, and KLOTZMAN received 40 percent of the profits
  made fromsLig inside shares of stocks "Imxilici" by KLOTSMAN,
  LAURIA, and SATER. LAURIA was on the FIRST METROPOLITAN premises
  daily and wa a le to bring his own brokers into the firm. These
  brokers knew that they would receiy.:-_- cash payments at FIRST
  METROPOLITPN, ALEKS PAUL laundered .some'of the cash used to Pay
  brokers at FIRST METROPOLITAN.

            The following stocks ere issued at FIRST METROPOLITN
  and sold by paying cash to the brokers:

            . TRANFORD_INTERNATIONAL-.GROUP.:_CHARLIE XUE_ brought this
  deal to FIRST,METROPOLITANThe_c mpany.ws.involved:in
  manufacturing bath tubs.' LAUR     - SATEand KLOTSMAN held inside
  warrants but never got the. opporuunt4y'to ffETT-En7r77-7 -a--
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        result, they never made any money on this deal.

                   The next deal done at. FIRST METROPOLITAN was called
        T.T.R. INC. This company was ID:asd ii Israel and was in the
        business o_f-producing CD piracy protection software. LAURIA,
        KIJOTSMAN,SATEk,and the owners of FIRST METROPOLITAN had an
        inside poi-tion' of 600,000 shares. Again, LAURIA, KLOTSMAN and
        SATER did not make any money, on the deal. The inside position
        was obtained by paying a $30,0QP.00 bribe to a lawyer for an
        improper.opinion letter. This payment was made by GENE KLOTSMAN.

                    LAURIA, SATER, and KLOTSMAN also had an undisclosed
9
.\     interest in the brokerage firm of LEXINGTON CAPITAL GROUArsiam We
       individuals who applodi to own the firm on paper.were =ENT e 6L)
       MARATATO (ph), DILAWbRTANE (ph) and a third individual. These eS\
       three individuals approached LAURIA through DANNY PERSICO and     R
       amased LAURIA that t e wanted to start t elm- own firm. These
              indivi uals asked LAURIA to help them start the firm so
       LAURIA helped set up the firm's infrastructure while KLOTSMAN
       raise approximately $1.5 million. In return, KLOTSMAN, LAURIA,
       and (SATE would received 40 percent Of the profits from sales of
       stoc --ect- LEXINGTON CAPITAL. This 40 percent was limited to the
       profits of stock wherein the partners had an inside position. No
       deals were ever completed through LEXINGTON CAPITAL because this
       Lirm merge witn FIRST HANOVER an. FIRST METPOLiTAN.
                        LAURIA, and JOTSMAN had an interest in FIRST
       HANOVER but OTSMAN stole a lead from the individuals who own
       the firm so they pulled out of the deal and sold back shares of
       HOLLY PRODUCTS to the detriment of LAURIA, SATER, and KLOTSMAN.

                 GARY FERONE was a broker at FIRST HANOVER who received
       cash for selling shares of COUNTRY WORLD CASINOS. FERONE worked
       at a mutual fund. with HARVEY BLOCK so he could not take the
       COUNTRY WORLD stock directly. Instead, FERONE used SAL MARTARONO
       at FIRST :OVER to do the trades for him. MARTARONO, in turn,
       took cash from LAURIA for selling shares of HOLLY PRODUCTS.
       SOURCE advised that LAURIA remained at FIRST METROPOLITAN until
       approximately January, 1997. During this time, LAURIA recruited
       brokers and helped with solving some of the "shorting" problems."
       mauRTA also looked for deals to push through FIRST METROPOLITAN.

                 In or around January 1997_,AURIA began to work for
       RAFAEL ROJAS. At the same time, 'ATE and KLOTSMAN were at 40
       Wall Street setting up U.K. HYDE        LAURIA was a full partner
       in_U.K. HYDE PARK with 33 percent interest. LAURIA purchased.'
       this interest for $300,000.00. LAURIA and his partners intended
       to use U.K. HYDE PARK to conduct Reg D Deals-but-this. firm never
       turned a profit.
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             LAURIA met RAFAEL ROJAS through one of his clients.
         and LAURIA asked ROJAS if he was interested in buying oil
  prep-erties with reserves in Russia. Each of the three_patners
  would put in $100,000.00 each to start the venture. SATE' and
  LAURIA each put in $1.00,000.00 in an escrow account an   raveled
  to Russia. ROJAS never put in his $100,000.00.

            LAURIA's business relationship with ROJAS involved
  examining potential business deals and proposing them to ROJAS.
  LAURIA believed that ROJAS was a large scale businessman. LAURIA
  did not receive a salary from ROJAS but ROJAS agreed to allow
  LAURIA to share in the profits of future deals that he invested
  in. In the end, LAURIA could not close any deals with ROJAS.

            LAURIA, however, entered into an arrangement with ROJAS
  whereby LAURIA would, in effect, launder $14 million for Italian
  Lire in Switzerland.

           ROJAS supplied oil and other petroleum products to Cuba
 through nominee accounts in the Caribbean. IMAN I3OISE (Ph), an
 individual who works in ROJAS' office, may he involved in arms
 dealing. ROJAS may he a front in the United States for fugitive
 MARK RITCH.

           In January and February of 1997, LAURIA was in Russia.
 Upon his return, LAURIA went back to work for ROJAS at his New
 York Office. Shortly afterwards, in or around March of 1997,
 RICK GALLO approached LAURIA to open a broker/dealer under the
 WEST AMERICA brokerage firm outlined above.

           While working with GALLO, LAURIA was approached by
 DAVID JACKARUSSO (ph), one of LAURIA's neighbors on Sands Point,
 Long Island. JACKARUSSO asked LAURIA to act as a consultant fo-r-
 his brokerage firm, MONTROSE. JACKARUSSO was having difficulty
 managing the firm and asked LAURIA to help him in some type of
 consulting arrangement. In addition to solving some of the
 manacemen.t problems at MONTROSE, LAURIA tried to introduce RICK
 GALLO to a merger with MONTROSE. LAURIA approached attorney
 SCOTT ZEIGLER to prepare the merger papers. In the end, GALLO
 could not raise enouah money to complete the merger and as a
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